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                                  Exhibit A
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   From:             mukaseym@gtlaw.com
   To:               McCabe, Brian (CIV)
   Date:             Wednesday, September 26, 2018 11:11:24 AM




           Brian - It is my understanding that you are meeting this Thursday (9/27) with
           John Mininno and McKool Smith regarding                            . Although I am
           not substantively involved in             , to the extent you may have questions
           regarding Mininno and his organization (i.e., Venari Partners, LLC), I will be the
           primary point of contact. To that end, I understand you have asked for an updated
           list of cases filed by Venari and same is attached. I also understand you asked
           regarding Venari’s structure/members. Venari Partners, LLC (d/b/a
           NHCAGroup) is a Delaware LLC that creates stand-alone LLC’s to file each of
           its qui tam cases. Venari’s members are as follows:

              1. 110 Partners, LLC whose sole member is Peter Riccardo
              2. Min-Fam-Holding, LLC whose sole member is John Mininno
              3. Sweetbriar Capital   LLC whose sole members are Brad Blaschak and Joe
                 Riccardo
              4. Uptown Investors, L.P.   whose members are Michael and Jerry Callaghan
                 (it’s possible the ownership structure of this entity has deviated from this
                 but no one who has been added has any affiliation with the defendants)

           If there are any non-case specific questions you may have, please feel free to
           reach out to me. Further, if you expect Thursday’s meeting to discuss

                 - then perhaps we could set aside a specific time period on Thursday and I
           can join by phone call. I am on a discussion panel at a conference tomorrow
           from 930am to 1130am but available after that. Thanks, Marc Mukasey.


   Sent from my iPhone

   If you are not an intended recipient of confidential and privileged information in this email,
   please delete it, notify us immediately at postmaster@gtlaw.com, and do not use or
   disseminate such information.
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                                  Exhibit B
                              Case 5:17-cv-00126-RWS-CMC Document 116-1 Filed 12/17/18 Page 6 of 13 PageID #:
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                                                                       Venari Partners LLC
                              Sweetbriar Capital, LLC                                                           Min-Fam Holding, LLC
                                                                                dba
                                101 Partners, LLC                                                               Uptown Investors, L.P.
                                                                        “National Health Care
                                                                          Analysis Group”




                                                                           LLC Relators




SMSF, LLC
(D. Mass)                                                                                                                                                       Health Choice
                                                                                                                                                                Advocates, LLC
                                                                                                                                                                  (E.D. Tex.)

   SAPF, LLC
                                                                                                                                                     Health Choice
   (E.D. Pa.)
                                                                                                                                                     Alliance, LLC
                                                                                                                                                      (E.D. Tex.)
                                                                                                                                     Health Choice
                SMSPF, LLC                                                                                                            Group, LLC
                 (E.D. Pa.)                                                                                                           (E.D. Tex.)
                                                                                                                CIMZNHCA, LLC
                                  NHCA-TEV, LLC
                                                          SCEF, LLC                             NHCAOTZ, LLC       (S.D. Ill.)
                                    (E.D. Pa.)
                                                        (W.D. Wash.)           SAKSF, LLC         (N.D. Ill.)
                                                                               (N.D. Tex.)
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                                 Exhibit C-1
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   1      1. Proceedings

   2      2.            : Hello.

   3      3. John: Hi              , John Mininno From NHCA group. How are you?

   4      4.            : Hi, good. How are you doing?

   5      5. John: Good, good. Still a good time?

   6      6.            : Yeah, sure it is. I thought you were going to call at 1:00 PM Eastern

   7           because that’s what came up on my Outlook calendar.

   8      7. John: Oh sorry. You know what? It was 1:00 PM. I got my [inaudible 00:00:36] in

   9           Eastern. I thought it was … I'm sorry, totally screwed this up. Let me call you

   10          back at 1:00.

   11     8.            : No, this is actually a better time.

   12     9. John: Oh good, even better. So, sorry about that. I always forget, I've got my

   13          Eastern and Central, we are both on Eastern Time. Anyway, Ok. All right, we’ll

   14          dive right into it. A little introduction here. Thank you for taking the time to talk

   15          to us about the pharmaceutical nurse educator industry. As you probably know

   16          over the last decade, the pharmaceutical industry has made an enormous

   17          investment in nurse educators. Over the last year and a half, our team has been

   18          conducting research to understand whether that investment has been an effective

   19          and efficient use of resources. We perform our research by conducting 55-minute

   20          interviews of nurse educators, diabetes educators, other clinical educators and

   21          the pharmaceutical sales reps who work with them. This research has allowed us

   22          to develop an extensive knowledge-base to help us and others understand how

   23          the industry works, how it does not work and how it may result in a positive

   24          outcome or how may result in a negative outcome. Our hope is that one day we

   25          will be able to have a positive influence on how nurse educators are used by the

   26          pharmaceutical companies. This interview will last 55 minutes. As we go through

   27          the process, I will periodically remind you where we are with respect to time.

   28          Given that we have such a short time, there may be occasions where I need to

   29          redirect you and move to another topic so that all topics can be covered. As is

   30          customary in qualitative research, I will be recording the interview. This serves

   31          mainly to help me be sure that I accurately record your responses to the research

                                                                                                  1
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   1            questions and to assess my own performance. Because this is a research study,

   2            the questions are standardized. Some of the questions will be open-ended and

   3            require a more free-flowing response. Other questions will be a form of multiple-

   4            choice where you’ll be read a statement and have four options; A, strongly agree,

   5            B, agree, C, strongly disagree or D, disagree. And then I will follow up with the

   6            question, tell me why you answered in the way you did. The questions are

   7            designed to cover wide ranges of roles in the industry. Some questions may not

   8            apply to you in your particular role within the industry. Importantly we have no

   9            bias one way or the other about the industry or your particular experiences in the

   10           industry. We value your opinions, thoughts and insights and we ask you to share

   11           them openly and honestly with us. At the end of the 55 minutes, you will receive

   12           an email with payment information. You will be paid $125 … Hello.

   13     10.            : You're cutting in and out. I'm sorry.

   14     11. John: Ok. Is there a better number to call you on?

   15     12.            : No, this is actually a very good number, but I'm not sure, it was good

   16           up until about 30 seconds ago.

   17     13. John: Ok, let me call you back on this number internally, maybe that’s [inaudible

   18           00:03:44] wants.

   19     14.            : Ok. It’s fine.

   20     15. John: All right. Bye bye.

   21     16.            : It’s Ok. Bye bye. Hi, I hope this is better.

   22     17. John: Oh yeah, you're right [inaudible 00:04:13] static but now it seems better.

   23           Ok.

   24     18.            : Oh good, good.

   25     19. John: At the end of the 55 minutes, you will receive an email with payment

   26           information. You will be paid $125 for the 55 minutes. You will also receive a

   27           survey link that has five survey questions regarding your experience during this

   28           interview. That survey is optional. And with that introduction, let's begin, Ok?

   29     20.            : Sounds good. Thank you.

   30     21. John: No problem. The first series of questions deals with the pharmaceutical

   31           company based training of nurse educators. So, question number one, it is

                                                                                                   2
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                                 Exhibit C-2
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        PRIVILEGED AND CONFIDENTIAL 2449
        SUBJECT TO SEAL PURSUANT TO 31 U.S.C. § 3730

                           BAYER CONFIDENTIAL INTERVIEWEE 4


        October 18, 2016 Telephone Interview
          1. Interviewer: Thank you for taking the time to talk with us about the
              reimbursement support industry. As you know we are a private research team
              looking to develop a better understanding of this industry. We conduct this
              research by conducting 55 minute interviews of reimbursement personnel and
              also the pharmaceutical sales reps. So over the last decade the pharmaceutical
              industry has made an enormous investment in reimbursement services. This
              research is important to help us understand whether that has been an effective use
              of resources. So as is customary in qualitative research I will be recording the
              interview. This serves mainly to ensure that I accurately record your responses
              and also to assess my own performance. The interview lasts 55 minutes. As we
              go through the process, I will periodically remind you where we are with respect
              to time. Given that we have such a short time, there may be times when I will
              have to redirect you and move you on to another topic, so that all topics can be
              covered. We have no particular bias one way or another about the industry. We
              value your opinions, thoughts and insights and we ask that you share them openly
              and honestly with us. Also at the end of 55 minutes you will receive an email
              with both the payment form with payment information, as you will paid $125 for
              the 55 minutes and a survey link that has 5 survey questions regarding your
              experience during the interview. The survey is optional. Some of the research
              questions will be open ended and require a more free flowing response. Other
              questions will be in the form of multiple choice, where you will be read a
              statement and have 4 options the A) you strongly agree, B) agree, C) strongly
              disagree and D) disagree. Then I will follow up with the question, tell me why
              you answered the way you did? Because this is research study the questions are
              standardized. The questions are designed to cover a wide range of roles within the
              industry, so some questions may not apply to you within your role within the
              industry. And finally with that intro let’s begin. Just so we have it on record, I’m
              talking with CI-4 and you’re employed by A-Line staffing right with the Lash
              Group?
          2. CI-4: Yes



                                                   1
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                                 Exhibit C-3
Case 5:17-cv-00126-RWS-CMC Document 116-1 Filed 12/17/18 Page 13 of 13 PageID #:
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            CHRIS: Again, we are a private research team, working to develop a better
     understanding of this industry, the reimbursement support industry. We can get this
     research by conducting 55-minute interviews of reimbursement personnel and
     pharmaceutical sales reps. Over the last decade, the pharmaceutical industry has made an
     enormous investment in reimbursement support services. This research is important to
     help us understand whether that has been an effective use of resources. As is customary
     in qualitative research, I will be recording the interview.
            This serves mainly to help me ensure that I accurately record your responses, and
     to assess my own performance. The interview allows 55 minutes and as we go through
     the process, I will periodically remind you where we are within respect of time. Even
     though we have such a short amount of time, there may be times where I have to redirect
     you and move onto another topic, so that all topics can be covered. We have no particular
     bias, one way or the other, about the industry. We value your opinions, your thoughts,
     and insights and we ask that you share them openly and honestly with us.
            Also, at the end of the 55 minutes, you will receive an email with both payment
     information, as you will be paid $125 for the 55 minutes, and a survey link that has five
     survey questions, regarding your experience during this interview. The survey is optional.
     Some of the research questions will be open-ended and require a more free-flowing
     response. Other questions will be in the form of multiple-choice; where you will be read a
     statement and have four options. A, you strongly agree; B, you agree; C, strongly
     disagree; or D, just disagree. Then, I will follow up with a question - tell me why you
     answered the way you did.
            Now because this is a research study, the questions are standardized. The
     questions are designed to cover a wide range of roles within the industry. Some questions
     may not apply to your role within the industry. Finally, with that intro, are you ready?


             : I am.


     CHRIS: I just want to get on here that I’m talking to              , and you were a patient
     service coordinator for Biogen, for over eleven years?
